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     AFFIDAVIT IN SUPPORT OF APPLICATION FOR CmMINAL COMPLAINT



                                        INTRODUCTION


1, Heather Call, being first duly sworn state:

        1.      Your affiant, Heather Call, employed with the Newport News Police Department
(NNPD) since June, 2004, and more specifically with the Special Victims Unit since July, 2011.
This assignment has afforded me the opportunity to investigate and/or arrest and prosecute
numerous individuals for crimes relating to the neglect and abuse of children in violation of the
Virginia (VA) State Code. I have previously been involved in criminal investigations concerning
violations of federal laws. Those investigations included, but are not limited to, child exploitation
and child pornography. Since joining the NNPD your affiant has attended specialized training
courses in child/adolescent interviewing, human trafficking, identifying and seizing electronic
evidence, and computer forensic, recovery, and social site investigations.

       2.       I am currently assigned as a Master Police Detective with the Newport News Police
Department, Criminal Investigations Division, Special Victims Unit, as well as a Task Force
Officer (TFO) assigned to the Federal Bureau of Investigation, Norfolk Division Child
Exploitation Task Force. I have participated in investigations involving sexual assaults, persons
who collect and distribute child pornography, and the distribution of materials relating to the sexual
exploitation of children. I have received training from the FBI in the areas of sexual assaults and
child exploitation, and I have reviewed images and videos of child pornography in a wide variety
of media forms, including computer media. I have also discussed and reviewed these materials
with other law enforcement officers.


        3.     I was deputized as a Special Deputy United States Marshal on June 16, 2014. As a
Special Deputy United States Marshal, your Affiant is authorized to investigate violations of laws
of the United States and to execute waiTants issued under the authority of the United States.


       4.     This affidavit supports an application for a criminal complaint charging KEONTE
NAVON MARTIN with Receipt of Child Pornography, in violation of Title 18, United States
Code, § 2252A(a)(2).

        5.      This affidavit is based upon information that I have gained from my investigation,
my training and experience, as well as information gained from conversations with other law
enforcement officers. Since this affidavit is being submitted for the limited purpose of securing a
criminal complaint, I have not included each and every fact known to me concerning this
investigation. I have set forth only the facts that I believe are necessary to establish probable cause
to believe that KEONTE NAVON MARTIN, has committed a violation of Title 18, United States
Code, § 2252A(a)(2).


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                      STATUTORY AUTHORITY AND DEFINITIONS


       6.        This investigation concerns alleged violations of Title 18, United States Code,
§ 2252A(a)(2), relating to receipt of child pornography. Title 18, U.S.C. § 2252A(a)(2) makes it
a federal criminal offense to knowingly receive or distribute any child pornography using any
means or facility of interstate or foreign commerce or in or affecting interstate or foreign commerce
by any means, including by computer.

       7.      The term "computer," as used herein, is defined pursuant to Title 18, United States
Code, Section 1030(e)(1), as "an electronic, magnetic, optical, electrochemical, or other high speed
data processing device performing logical or storage functions and includes any data storage
facility or communications facility directly related to or operating in conjunction with such
device."
                               FACTS AND CIRCIMSTANCES


       8.      On August 19, 2022, KEONTE NAVON MARTIN was convicted in United
States District Court for the Western District of Oklahoma of possession of child pornography and
sentenced to serve 48 months incarceration. On February 14,2025, he was transferred to the James
River Residential Reentry Center, located in the City of Newport News. On February 19, 2025,
MARTIN was granted permission to use a flip phone from Senior United States Probation Officer
ArVonte’ Johnson for text and talk only. He was not allowed to have access to the Internet. Case
Manager Supervisor J. Wright went over a fonn titled “Request/Agreement for Authorization of a
Cell Phone” with MARTIN delineating certain rules. One such rule was “I understand that nude
or pornographic photographs or texts of a sexual nature and gang/drug related pictured and/or
symbols will NOT BE tolerated/pennitted.” Another rule was “I understand that staff CAN
review/search my cell phone at any time and that there is not an expectation of privacy with regard
to my possession or use of the cell phone until my release.” MARTIN initialed next to each of
the rules pertaining to cell phone use acknowledging he understood the rules.          In addition,
MARTIN was present at two house meetings, one on February 17, 2025, and the other on March
17, 2025, where they discussed in small groups the rules about cell phone usage.
       9.       On April 14, 2025, MARTIN and other inmates signed out for their one hour of
recreation at the facility. Operations Supervisor R. Burgess noted that she did not see the inmates
outside, so she and Ms. Wright went outside. They found MARTIN sitting in his vehicle with the
sunshade across the front windshield. Ms. Burgess and Ms. Wright told MARTIN to get out of
his vehicle for his outside recreation time. When the imnates signed back into the facility, Ms.
Burgess went up front to assist with the process of the inmates being searched. Ms. Burgess told
MARTIN to empty his pockets and felt MARTIN was hiding something under his jacket. Ms.
Burgess saw MARTIN’S flip phone, which he was allowed to have, but then observed a smart
phone. MARTIN initially denied having that phone, saying it belonged to someone else. Staff
reviewed the surveillance video at the facility, and it was determined MARTIN was in possession
of the smart phone. When questioned, MARTIN told Ms. Burgess he obtained the phone over the
prior weekend from his mother to conduct job searches. MARTIN initially provided a passcode
for the smartphone; however, it was not the correct passcode.

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       10.     Ms. Burgess searched MARTIN’S room and vehicle and located two ear pod sets,
a Canon camera, a black thumb drive, and a laptop charger without a laptop.

       11.     Ms. Burgess spoke with MARTIN again. MARTIN said it was embarrassing and
when asked what was on the phone, he said there was not anything illegal. MARTIN provided
the correct passcode for the phone.

       12.     Ms. Burgess and Ms. Wright used the passcode to access the smartphone. Upon
being unlocked, the Gallery was already opened on the phone. They observed images and videos
containing child pornography. Ms. Burgess described two images. One she said was of a man
with his mouth on a child’s penis. The other image she detailed was of a preteen male who was
naked with his legs spread open. His hand was holding his penis. Ms. White stated the videos she
observed were of pretcen males engaged in sexual activity with adults.

       13.      Ms. Burgess completed an incident report and provided a copy to your affiant. In
that report were screenshots of thumbnails in the Gallery on MARTIN’S smartphone. Your affiant
reviewed the screenshots and observed numerous thumbnails of juvenile males either clothed or
with their shirts off There were several thumbnails of males engaged in sexual activity where at
least one of the males appeared to be a juvenile. Your affiant observed the image of the juvenile
male who was nude with his legs spread open, holding his penis with his hand. Also in the incident
report were two statements made by MARTIN and written down by staff They are as follows:

                 a.   Under the section titled “Comments of Imnate to CDC          Regarding Above
                      Incident”, it is written, “I would like to apologize to staff for lying and
                      violations that I have, and for the trouble that 1 caused. There’s things that I
                      need to work on, and things that I need help in. 1 need better and I will be
                      better. As far as the camera and laptop charger I didn’t know that it was in
                      my trunk, my family used my car when I was away.”
                b.    Under the section titled “Offender Statement and Attitude”, it is written, “My
                      statement to clarify. My cara (sic) was being used by my family while I was
                      in prison, so I was not aware of a laptop charger, the camera or flash drive. I
                      did not know it was in the trunk. I recognize that 1 made a mistake and I
                      sincerely apologize in particular to Ms. Wright & Ms. Burgess for the trouble
                      I caused & the trust broken but as well as to the staff in whole for the trouble
                      I caused. I need to do better & will do better.”


       14.     On April 22, 2025, your affiant obtained a federal search warrant from the
Honorable United States Magistrate Judge Douglas E. Miller to search the Samsung smartphone,
flip phone, Canon camera, and black thumb drive.
       15.    Upon review of the Samsung smart phone, your affiant located numerous images
and videos containing child pornography. One such image file is dated March 28, 2025, and is
titled, “tumblr_97b287238660fO898804c8ab5ca598ac^25143b35_1280.j pg. In the image a
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pubescent male juvenile is sitting on the ground nude, wearing only socks and shoes. His legs are
spread open, and one hand is on his penis. Based on the file path, this image was located in a folder
named Telegram.


                                         CONCLUSION



       Based upon the facts set forth above, I submit that probable case exists to believe
KEONTE NAVON MARTIN has violated Title 18, United States Code, § 2252A(a)(2) which
prohibits knowing receipt or distribution of child pornography (and any visual depictions of and
involving the use of a minor engaging in sexually explicit conduct) in interstate or foreign
commerce.



       FURTHER YOUR AFFIANT SAYETH NOT.



                                              Heather Call
                                              Task Force Officer

                                              FBI Child Exploitation Task Force
                                              Federal Bureau of Investigation


This affidavit has been reviewed for legal sufficiency by Assistant United States Attorney Lisa
R. McKeel.


Reviewed:
                Lissa R. McKeel
                Assistant United States Attorney

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Subscribed and sworn to before me this        day of/^^pril     5, in    City of Norfelk, Virginia.

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                                              UNITED STATFSn^ACMfTTRATE.TTlOGF.
                                                      Douglas E. Milter
                                                      United States Magistrate Judge




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